                         UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 3:04-CR-201-MU

UNITED STATES OF AMERICA            )
                                    )
      v.                            )
                                    )                          ORDER
VINTAGE PHARMACEUTICALS,            )
INC., WILLIAM PROPST, SR.,          )
WILLIAM PROPST, JR., and            )
QUALITEST PHARMACEUTICALS, )
INC.,                               )
                                    )
      Defendants.                   )
____________________________________)

       THIS MATTER IS before the court upon the Motion of Defendants Vintage
Pharmaceuticals, Inc., William Propst, Sr., William Propst, Jr., and Qualitest Pharmaceuticals,
Inc. (collectively “Defendants”) for Review of Magistrate Judge’s Order Denying Defendants’
Motion to Compel Discovery, (file doc. 146), filed on September 1, 2005. On September 2,
2005, Defendants filed an Addendum to that Motion, (file doc. 147). The Government filed its
Opposition to the Motion on September 16, 2005, (file doc. 148). And, Defendants filed a Reply
to the Government’s Opposition on October 5, 2005, (file doc. 149).
       After reviewing all of the above, the Court has determined that this matter requires a
hearing for oral argument on the issues. Further, the Court will inquire into the status of the case
and whether this matter will be ready for trial for the current trial date of April 4, 2006.
       IT IS THEREFORE ORDERED that a hearing on the discovery issues presented in the

above documents, as well as a status conference on the date of the trial, be held in Courtroom

No. 3, at 10:30 a.m., on Thursday, February 16, 2006.




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                               Signed: February 9, 2006




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